     Case: 1:17-cv-06372 Document #: 13 Filed: 12/12/17 Page 1 of 2 PageID #:38




                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

BELIA CADIZ, on behalf of herself and
others similarly situated,                   )
                                             )
               PLAINTIFF,                    )
                                             )       Civil Action No. 17-cv-06372
               v.                            )
                                             )       Hon. Matthew F. Kennelly
PREMIERE CREDIT OF NORTH                     )
AMERICA, LLC,                                )
                                             )       Magistrate Judge Sheila Finnegan
               DEFENDANT.                    )



                                STIPULATION OF DISMISSAL

       IT IS HEREBY STIPULATED AND AGREED to by Plaintiff and Plaintiff’s attorney and
the Defendant and Defendant’s attorneys, that pursuant to Rule 41(a) (1) (A) (ii) of the Federal
Rules of Civil Procedure, the above-titled action against the Defendants shall be and hereby is
dismissed with prejudice and on the merits, with each side to bear its own fees and costs.
Dated: December 12, 2017

        Counsel for Plaintiff                        Counsel for Defendant

        s/Celetha Chatman                            s/ Kevin Borozan
        Celetha Chatman                              Kevin S. Borozan, Esq.
        Michael Wood                                 Messer Strickler, Ltd.
        Community Lawyers Group Ltd.                 225 W. Washington
        73 W. Monroe Street, Suite 502               Suite 575
        Chicago, IL 60603                            Chicago, IL 60606
        Ph: (312)757-1880                            312-334-3474 Phone
        Fx: (312)476-1362                            312-334-3473 Fax
        cchatman@communitylawyersgroup.com
        mwood@communitylawyersgroup.com              Attorneys for Defendants
        Attorneys for Plaintiff
     Case: 1:17-cv-06372 Document #: 13 Filed: 12/12/17 Page 2 of 2 PageID #:39




                                  CERTIFICATE OF SERVICE

        I, Celetha Chatman, an attorney, hereby certify that on December 12, 2017, I

electronically filed the foregoing document using the CM/ECF system, which will send

notification of such filing to all attorneys of record.


 Dated: December 12, 2017                                                  Respectfully submitted,


                                                                     By:      /s/ Celetha Chatman
